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               Attorneys for Plaintiff


                                    IN THE UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF OREGON

                                              PORTLAND DIVISION


       RONALD GREENSPAN, in his capacity as                                        No. 3:17-cv-00233
       COURT-APPOINTED RECEIVER for
       AEQUITAS CORPORATE LENDING,
       LLC, an Oregon limited liability company,
                                                       COMPLAINT
                             Plaintiff,                (Breach of Note; Breach of Guaranty;
                                                       Breach of Security Agreement and
               vs.                                     Foreclosure of Security Interest; Money Had
                                                       and Received; Unjust Enrichment)
       FIELDSTONE FINANCIAL
       MANAGEMENT GROUP, LLC, a                        DEMAND FOR JURY TRIAL
       Delaware limited liability company;
       KRISTOFOR R. BEHN, an individual; and
       CHRISTINE R. BEHN, an individual,

                             Defendants.

               Ronald Greenspan, as the Court-appointed Receiver for Aequitas Corporate Lending,

      LLC, files this Complaint against the above-named Defendants.




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                                                    PARTIES

            1.        Plaintiff Ronald Greenspan is a federally-appointed receiver (“Receiver”) acting

    pursuant to Fed. R. Civ. P. 66, the provisions of 28 U.S.C. §§ 754, 959, and 1692, and under the

    authority granted by this Court’s April 14, 2016, Order Appointing Receiver (“Receivership

    Order”) in the United States District Court for the District of Oregon, Portland Division, Case No.

    3:16-cv-00438-PK, titled Securities and Exchange Commission v. Aequitas Management, LLC, et

    al. (“Enforcement Action”). A copy of the Receivership Order is attached to this Complaint as

    Exhibit 1 and incorporated herein.
            2.        Under the terms of the Receivership Order, the Receiver was appointed to serve as

    receiver for certain defendants and their subsidiaries and/or majority-owned affiliates (the

    “Receivership Entity”). Under the terms of the Receivership Order, the Receiver is responsible for

    taking custody and control of Receivership Property and bringing such legal actions as may be

    necessary to discharge his duties.

            3.        Aequitas Corporate Lending, LLC (“ACL”) is an Oregon limited liability company

    with its principal place of business in the State of Oregon. ACL is part of the Receivership Entity

    and the dispute herein centers on Receivership Property.

            4.        On information and belief, Defendant Fieldstone Financial Management Group,

    LLC (“Defendant Fieldstone”) is a Delaware limited liability company with its principal place of

    business in Massachusetts.

            5.        On information and belief, Defendants Kristofor R. Behn and Christine R. Behn

    (the “Behn Defendants”) are individuals residing in Massachusetts.

                                         JURISDICTION AND VENUE

            6.        This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§

    754, 959, 1692, and 1332.

            7.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b), as all Defendants

    conducted business with ACL’s predecessor in interest, a substantial part of the events or
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    omissions giving rise to these claims all occurred in this District, and the contracts at issue in this

    dispute provide that the parties submit to exclusive jurisdiction of the state and federal courts of

    Multnomah County, State of Oregon and waive any objection that such venue is an inconvenient

    forum.

             8.       Jurisdiction and venue are also proper in this District because the Receiver filed

    Notices of the Receivership (including the SEC Complaint and the Receivership Order) in the

    various District Courts in which all of the Defendants and the Receivership Property are located

    within ten (10) days of entry of the Receivership Order, pursuant to 28 U.S.C. §§ 754 and 1692.
             9.       All conditions precedent to the filing of this action have occurred, been performed,

    excused or waived.

                                            BACKGROUND FACTS

             10.      On or about April 15, 2014, Defendant Fieldstone executed and delivered to Aspen

    Grove Equity Solutions LLC (“AGES”) a Convertible Promissory Note (the “Note”) in the original

    principal amount of $1.5 Million. A true and correct copy of the Note is attached and incorporated

    herein as Exhibit 2.

             11.      On or about April 15, 2014, Defendant Fieldstone executed a Commercial Security

    Agreement (the “Security Agreement”) whereby Defendant Fieldstone granted AGES a blanket

    lien over certain personal property fully described in the Security Agreement (the “Collateral”). A

    true and correct copy of the Security Agreement is attached and incorporated herein as Exhibit 3.

             12.      AGES perfected its lien on the Collateral by filing a UCC-1 Financing Statement

    with the Delaware Secretary of State’s office, under Filing No. 2015 5525760.

             13.      To further secure Defendant Fieldstone’s complete and timely payment of the Note,

    on or about April 15, 2014, the Behn Defendants executed and delivered a guaranty (the

    “Guaranty”), whereby the Behn Defendants agreed to pay AGES all amounts owed to it by

    Defendant Fieldstone. A true and correct copy of the Guaranty is attached and incorporated herein

    as Exhibit 4.
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            14.       In addition to the Note, Security Agreement, and Guaranty, Defendant Fieldstone

    executed a Business Loan Agreement, Pledge Agreement, and Assignment and Assumption

    Agreement. True and correct copies of these documents are attached and incorporated herein as

    Exhibit 5-7, respectively. The documents executed by Defendant Fieldstone and the Behn

    Defendants in order for Defendant Fieldstone to borrow $1.5 Million from AGES are collectively

    referred to herein as the “Loan Documents.”

            15.       On or about April 1, 2015, the Note, Security Agreement, Guaranty, and all other

    associated documents relating to the Fieldstone loan were assigned to ACL.

                                           FIRST CLAIM FOR RELIEF

                                                   (Breach of Note)
            16.       Under the terms of the Note and Loan Documents, a default would occur if

    Defendant Fieldstone failed to make payment within five (5) business days of when a payment is

    due under the Note.

            17.       Defendant Fieldstone has failed to make payments due under the Note and,

    accordingly, is in default under the terms of the Note.

            18.       ACL and its predecessors in interest have performed all conditions precedent on

    their part to be performed under the Loan Documents, or such conditions have otherwise been

    excused.

            19.       As a direct and proximate result of Defendant Fieldstone’s breach of the Note, ACL

    has been damaged in the principal amount of $1,625,270.04, plus interest in the amount of

    $272,774.49 accrued through January 21, 2017 and accruing thereafter at the rate of 17% per

    annum until fully paid, plus late fees in the amount of $9,074.43 accrued through January 21, 2017

    and accruing thereafter as allowed under the Loan Documents. The Receiver is entitled to a

    judgment and money award against Defendant Fieldstone in those amounts.

            20.       Under the Note, Defendant Fieldstone must pay all of ACL’s attorney fees and

    costs related to collecting amounts owed under the Note. The Receiver has incurred and continues
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    to incur attorney fees and costs to collect the amounts due under the Note and the Receiver is

    entitled to a judgment against Defendant Fieldstone in the amount of those fees and costs.

                                          SECOND CLAIM FOR RELIEF

                                                (Breach of Guaranty)

            21.       The Receiver realleges the above paragraphs.

            22.       The Behn Defendants breached the terms of the Guaranty by failing to pay the sums

    due and owing to ACL under the Note.

            23.       By reason of the Behn Defendants’ breach of the Guaranty, the Receiver is entitled

    to a judgment and money award against the Behn Defendants in the principal amount of

    $1,625,270.04, plus interest in the amount of $272,774.49 accrued through January 21, 2017 and

    accruing thereafter at the rate of 17% per annum until fully paid, plus late fees in the amount of

    $9,074.43 accrued through January 21, 2017 and accruing thereafter as allowed under the Loan

    Documents. The Receiver is entitled to a judgment and money award against the Behn Defendants

    in those amounts.
            24.       ACL and its predecessors in interest have performed all conditions precedent on

    their part to be performed by the Guaranty, or such conditions have been excused.

            25.       The Guaranty entitles ACL to recover its attorney fees and costs incurred to enforce

    the terms of the Guaranty. The Receiver has incurred and continues to incur attorney fees and

    costs in this action and is entitled to judgment against the Behn Defendants for those attorney fees

    and costs.

                                         THIRD CLAIM FOR RELIEF

                     (Breach of Security Agreement and Foreclosure of Security Interest)

            26.       The Receiver realleges the above paragraphs.

            27.       Defendant Fieldstone breached the Security Agreement by reason of its default

    under the Note, as set forth above, which also constitutes a default under the Security Agreement.


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    ACL thus is entitled to immediate possession of the Collateral and the foreclosure of its security

    interest.

            28.       Defendant Fieldstone is responsible to place the Receiver in possession of the

    Collateral. In the event Defendant Fieldstone does not immediately turn the Collateral over to the

    Receiver, the Receiver is entitled to be placed in possession of the Collateral by the Sheriff of this

    county or any other county. Thereafter, the Receiver is entitled to foreclose ACL’s security

    interest in the Collateral in any manner authorized by law.

            29.       The Defendants may claim an interest in the Collateral, but the Receiver’s interest

    in the Collateral is superior to any claims of right, title, or interest of the Defendants.
            30.       The Security Agreement entitles ACL to recover its attorney fees and costs in

    relation to enforcing the Security Agreement. The Receiver has incurred and continues to incur

    fees and costs in connection with this action and the Receiver is entitled to a judgment against

    Defendant Fieldstone for those attorney fees and costs.

                                         FOURTH CLAIM FOR RELIEF

                                           (Money Had and Received)

            31.       The Receiver realleges the above paragraphs.

            32.       Beginning on or about April 15, 2004, Defendant Fieldstone became indebted to

    ACL’s predecessor in interest in the sum of $1,500,000 for money had and received by Defendant

    Fieldstone for its use and benefit.

            33.       Of the initial indebtedness, the amount of $1,500,000 remains due and owing,

    together with interest at the statutory rate of 9% from February 20, 2016, until fully paid. The

    Receiver is entitled to a judgment and money award against Defendant Fieldstone in that amount.

                                          FIFTH CLAIM FOR RELIEF

                                              (Unjust Enrichment)

            34.       The Receiver realleges the above paragraphs.


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            35.       ACL’s predecessor in interest lent Defendant Fieldstone the sum of $1,500,000 at

    the specific request and behest of Defendant Fieldstone. Of the original amount loaned, the sum of

    $1,500,000 remains due and owing.

            36.       Unless Defendant Fieldstone is ordered to pay ACL the sum of $1,500,000, together

    with interest at the statutory rate of 9% from February 20, 2016, until fully paid, Defendant

    Fieldstone will be unjustly enriched in that amount to the detriment of ACL. Accordingly, the

    Receiver is entitled to a judgment and money award against Defendant Fieldstone in the amount

    set forth in this paragraph.

                                              PRAYER FOR RELIEF

               WHEREFORE, the Receiver respectfully prays as follows:

               1.       On its First and Second Claims for relief, for a judgment and money award

      against the Defendants, jointly and severally, in the principal amount of $1,625,270.04, plus

      interest in the amount of $272,774.49 accrued through January 21, 2017 and accruing thereafter

      at the rate of 17% per annum until fully paid, plus late fees in the amount of $9,074.43 accrued

      through January 21, 2017 and accruing thereafter as allowed under the Loan Documents;

               2.       On its Third Claim for Relief:

                        (a)      For a declaration that ACL’s interest in the Collateral is superior to any

               claim, right, title or interest of the Defendants;

                        (b)      For a judgment of claim and delivery directing the Sheriff of this or any

               other county to take possession of the Collateral; and

                        (c)      For foreclosure of ACL’s security interest in the Collateral in any manner

               provided by law;

               3.       On its Fourth and Fifth Claims for Relief, for a judgment and money award

      against Defendant Fieldstone in the amount of $1,500,000.00, plus interest accruing on that

      amount at the statutory rate of 9% per annum from February 20, 2016, until fully paid;


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               4.       For the Receiver’s attorney fees, costs and disbursements incurred herein; and

               5.       For any other and further relief as the court deems just and equitable.

               Dated this 10th day of February, 2017.

                                                      Respectfully submitted,

                                                      SCHWABE, WILLIAMSON & WYATT, P.C.



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